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     IT IS ORDERED as set forth below:



     Date: June 16, 2022
                                                  ________________________________
                                                              Paul Baisier
                                                      U.S. Bankruptcy Court Judge

     _______________________________________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:
                                                     CHAPTER 11
ATLANTA LIGHT BULBS, INC.,
                                                     CASE NO. 22-52950-pmb
      Debtor.
_____________________________________

TANDEM BANK,
                                                     CONTESTED MATTER
         Movant,
v.

ATLANTA LIGHT BULBS, INC.

         Respondent.


                    ORDER PROHIBITING USE OF CASH COLLATERAL

         This matter came before the Court for hearing on June 13, 2022, at 1:20 p.m. (the

“Hearing”) on the Motion Requesting Entry of Order Prohibiting Use of Cash Collateral (the

“Motion”) (Doc. No. 35) filed by Tandem Bank (the “Movant”) on June 8, 2022. At the Hearing,
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Leon S. Jones and Leslie M. Pineyro appeared on behalf of Movant. Kathleen G. Furr and

Jason M. Torf appeared on behalf of The Official Committee of Unsecured Creditors of Atlanta

Light Bulbs, Inc. Michael D. Robl and Max Bowen appeared on behalf of Jesse Root. Thomas

Dworschak appeared on behalf of the United States Trustee. Kristen Yadlosky appeared on

behalf of Sun Court Partners, LP. No party appeared in opposition to the Motion. Upon review of

the same, it is

         ORDERED that the Motion be, and the same hereby is, GRANTED, and it is further

       ORDERED that Debtor is prohibited from the use of cash collateral. Without limitation,

Debtor is prohibited from using any cash which constitutes proceeds of inventory or

receivables of Debtor. It is further

 ORDERED that this Order is entered without prejudice to a subsequent motion seeking authority

                  to use cash collateral and Tandem Bank’s right to oppose any subsequent request.

                                        [END OF DOCUMENT]

 Prepared and presented by:                      No opposition by:

 JONES & WALDEN LLC                              BAKER DONELSON
 /s/ Leslie M. Pineyro                           /s/ Kathleen G. Furr
 Leslie M. Pineyro                               Kathleen G. Furr
 Georgia Bar No. 969800                          Georgia Bar No. 589008
 Attorney for Tandem Bank                        Attorney for The Official Committee of
 699 Piedmont Avenue, NE                         Unsecured Creditors of Atlanta Light Bulbs, Inc.
 Atlanta, Georgia 30308                          3414 Peachtree Road, NE
 (404) 564-9300                                  Suite 1500, Monarch Plaza
 lpineyro@joneswalden.com                        Atlanta, GA 30326
                                                 (404) 577-6000
                                                 kfurr@bakerdonelson.com

 No opposition by:                               No opposition by:

 ROBL LAW GROUP LLC                              TUCKER ELLIS LLP
 /s/ Michael D. Robl                             /s/ Jason M. Torf
 Michael D. Robl                                 Jason M. Torf (admitted pro hac vice)
 Georgia Bar No. 610905                          Illinois Bar No. 6256778
 Attorney for Jesse Root                         Attorney for The Official Committee of
 Suite 250                                       Unsecured Creditors of Atlanta Light Bulbs, Inc.
 3754 LaVista Road                               Suite 6950
 Tucker, GA 30084                                233 S. Wacker Drive
 (404) 373-5153                                  Chicago, IL 60606
 michael@roblgroup.com                           (312) 256-9432
                                                 Jason.torf@tuckerellis.com
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No opposition by:

MARY IDA TOWNSON
UNITED STATES TRUSTEE
REGION 21

/s/ Thomas W. Dworschak
Thomas W. Dworschak
Attorney for the United States Trustee
Georgia Bar No. 236380
United States Department of Justice
Office of the United States Trustee
Suite 362, Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303
(404) 331-4439
Thomas.W.Dworschak@USDOJ.gov


Distribution List:

Leslie M. Pineyro, Jones & Walden LLC, 699 Piedmont Avenue NE, Atlanta, GA 30308

Office of the United States Trustee, Suite 362, Richard Russell Building, 75 Ted Turner Drive,
SW, Atlanta, GA 30303

Atlanta Light Bulbs, Inc., Attn: Jessica Mendoza, CEO, 2109 Mountain Industrial Blvd, Tucker,
GA 30084
